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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      October 7, 2020
BY ECF

The Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Christopher Collins, No. 18 Cr. 567 (VSB)

Dear Judge Broderick:

         The Government respectfully submits this letter in opposition to defendant Christopher
Collins’s most recent request for a further adjournment of his surrender date or, in the alternative,
a modification of his sentence to a term of home confinement under 18 U.S.C. § 3582(c). (Dkt.
No. 196). On January 17, 2020, this Court sentenced Collins to a term of imprisonment of 26
months, following his conviction of insider trading and lying to federal agents. Collins was
initially scheduled to surrender into Bureau of Prisons (“BOP”) custody on March 17, 2020.

        On March 2, 2020, with the consent of the Government, the Court granted Collins’s request
to adjourn his surrender date to April 21, 2020, in order to allow him to surrender directly to his
designated institution. (Dkt. No. 182). On April 1, 2020, again with the Government’s consent,
the Court granted a further extension of Collins’s surrender date to June 23, 2020, in light of the
onset of the COVID-19 pandemic. (Dkt. No. 185). On May 29, 2020, also with the Government’s
consent, the Court granted a further extension of Collins’s surrender date to August 18, 2020. (Dkt.
No. 188). On August 6, 2020, with the Government’s consent, the Court again adjourned Collins’s
surrender date to October 13, 2020, but requested that the parties submit a joint letter providing
information about COVID-19-related restrictions and procedures concerning defendants
surrendering to FPC Pensacola. (Dkt. No. 191). The parties submitted that letter on August 14,
2020. (Dkt. No. 194).

                   Collins’s Surrender Date Should Not be Further Adjourned

        The Government respectfully submits that further adjournments of Collins’s surrender date
are not warranted. Over the past six months, much has been learned about COVID-19, and the
BOP has adopted significant protective measures to prevent the introduction and spread of the
virus in its facilities.

        Indeed, FPC Pensacola maintains a rigorous system of testing and quarantine to minimize
the risk that arriving prisoners, like Collins, will introduce COVID-19 into the prisoner population
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or that they themselves will be exposed to the virus once they have entered general population. As
explained in the parties’ joint letter of August 14, 2020, pursuant to the BOP’s Coronavirus Action
Plan, when a new prisoner arrives at the facility, the individual undergoes an initial COVID-19
screening. That screening includes a check for physical symptoms of the disease, a temperature
check, and a COVID-19 diagnostic test. Inmates who test positive or exhibit COVID-19
symptoms are immediately placed in medical isolation until they meet CDC guidelines for
integration into the prison population. New inmates who test negative for the disease and exhibit
no symptoms are placed into quarantine for 14 days. During the 14-day quarantine period,
inmates’ temperatures are checked daily and they are monitored for other symptoms of COVID-
19. At the end of the 14 day period, if an inmate has remained asymptomatic, he is screened and
tested again. If the inmate continues to test negative and has no other symptoms, he is released
into the general population.1

       These protocols have proven successful. Over the past six months, not a single case of
COVID-19 has been detected among the general population of prisoners at FPC Pensacola and the
BOP’s screening procedures have been able to cut off potential entry points for the disease. 2
Contrary to Collins’s suggestion, this remarkable track record cannot be explained away as a
product of inadequate testing. Since the pandemic began, Pensacola, which currently houses just
over 300 prisoners, has tested over 50 prisoners, including, as discussed, all prisoners entering or
leaving the facility, as well as any prisoners who exhibit credible COVID-19 symptoms.

        Indeed, FPC Pensacola’s track record in controlling the disease among the prisoner
population appears to be significantly better than the track record of Collier County, Florida, where
Collins now resides. According to data from the New York Times, since the pandemic began,
nearly 13,000 cases of COVID-19 have been confirmed in Collier County, which translates to an
infection rate of about 3.4% of the overall population. See https://www.nytimes.com/interactive/
2020/us/florida-coronavirus-cases.html. In contrast, as indicated, the infection rate among
prisoners at FPC Penscola is zero. Moreover, it is unlikely that the availability or frequency of
testing accounts for the difference, given the BOP’s strict requirement that symptomatic
individuals be tested. In short, given the measures that the BOP has implemented and the
inherently controlled nature of the prison environment, there is no reason to believe that Collins
would be at a substantially greater risk of contracting COVID-19 at FPC Pensacola than he is in
the community.

       Collins’s medical issues do not justify a postponement either. Collins cites his asthma and
hypertension as “underlying health conditions” that place him at greater risk for complications if

1
  Previously, prisoners designated to FPC Pensacola were quarantined in an unused dorm at the
camp itself. In order to conserve staffing resources and reduce the chances of staff infections,
entering inmates are now quarantined in the Special Housing Unit at FCI Marianna and are then
transported back to FPC Pensacola once they are cleared to enter the general population.
2
 Although several staff members have been diagnosed with COVID-19, they were immediately
separated from the prisoner population. Likewise several prisoners have tested positive upon
arriving at the facility and prior to entering the general population. These prisoners were isolated
until they recovered and were no longer capable of transmitting the disease.
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he were to contract COVID-19 (Mem. at 6), but under current guidance from the Centers for
Disease Control (“CDC”), neither of these conditions has been definitively shown to be
aggravators of the disease.         See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
precautions/people-with-medical-conditions.html.       And although the CDC has said that
hypertension and moderate to severe asthma may place sufferers of those conditions at increased
risk, Collins’s primary care physician has previously reported that, in Collins’s case, both
conditions are well controlled and that he is “in good health overall.” See PSR ¶ 99.

        Collins also points to his age as a factor that the Court should consider, but while it is
certainly true that risk for severe illness from COVID-19 increases with age, the latest CDC data
indicates the COVID-19-related hospitalization rate for Collins’s age bracket (65-74 years old) is
198.7 per 100,000 population, only slightly higher than the hospitalization rate for adults aged 50-
64 (136.1), and significantly lower than the rate among individuals 85 or older (513.2). See
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-adults.html.

        At bottom, Collins’s request to further extend his surrender date amounts to a generic
assertion that his incarceration poses an unreasonably high risk to him of contracting the virus and
experiencing complications from infection. But the risk associated with Collins’s age and medical
conditions is not unique to the prison setting; that risk would also be present if he contracted the
disease while at liberty, where, as discussed, his likelihood of infection is arguably greater. Nor
do Collins’s arguments meaningfully distinguish him from the numerous other defendants in this
District and around the country whose risk profiles are similar to or more serious than Collins’s
but have nevertheless seen their applications for bail, delayed surrender, or compassionate release
denied.

        To take just one example, in July, Judge Caproni rejected a request by Sheldon Silver to
be sentenced to home confinement or, in the alternative, to extend his surrender date due to the
fact that incarceration during the pandemic created an unwarranted risk to his health in light of his
pre-existing conditions, which included his age (76 years old) and a history of prostate cancer,
hypertension, gout, anemia, and gastrointestinal bleeding due to stomach ulcers. See United States
v. Silver, No. 15 Cr. 93 (VEC), Dkt Nos. 439, at 30 (describing health conditions); 528, at 24-27,
30-31 (sentencing transcript, noting that “other than a couple of prisons at the very beginning, the
BOP has, “been doing a pretty good job” controlling the pandemic “in a situation where much of
the country is not doing well.”).

                  Collins’s Motion to Modify His Sentence Should Be Rejected

        For similar reasons, Collins’s motion to modify his sentence to a term of home confinement
under Section 3582(c) should be rejected. As an initial matter, the weight of authority indicates
that a sentenced defendant who, like Collins, is not yet in BOP custody cannot avail himself of
Section 3582(c). See United States v. Spruill, No. 3:18 Cr. 0022, 2020 WL 2113621, at *3 (D.
Conn. May 4, 2020) (compassionate release is not appropriate where the defendant has not yet
begun to serve the sentence); United States v. Konny, No. 19 Cr. 283 (JGK), 2020 WL 2836783
(S.D.N.Y. May 30, 2020) (same); United States v. Jordan, No. 19 Cr. 478 (GHW) 2020 WL
4195353 (S.D.N.Y. July 16, 2020) (same); see also United States v. Brooker (Zullo), 2020 WL
5739712, at *7 (2d Cir. 2020) (“[T]he First Step Act freed district courts to consider the full slate
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of extraordinary and compelling reasons that an imprisoned person might bring before them in
motions for compassionate release.”) (emphasis added); United States v. Nazer, No. 18 Cr. 00783,
2020 WL 2197840 (N.D. Ill. May 6, 2020) (noting “there is reason for the Court to doubt that
Nazer may seek compassionate release prior to his incarceration”); but see United States v. Austin,
No. 06 Cr. 991 (JSR), 2020 WL 3447521 (S.D.N.Y. June 22, 2020) (entertaining compassionate
release motion by a defendant not in BOP custody).3

          Even if the Court were to conclude that Section 3582(c) is available, the Court should still
decline to modify the sentence it imposed earlier this year, both because “extraordinary and
compelling reasons” do not exist to do so, and because the balance of factors under Section 3553(a)
still tilts heavily in favor of the sentence of incarceration the Court originally imposed.

        Under Section 3582, the Court “may reduce the term of imprisonment . . . after considering
the factors set forth in section 3553(a) to the extent that they are applicable, if it finds that . . .
extraordinary and compelling reasons warrant such a reduction.” 18 U.S.C. § 3582(c)(1)(A). In
making this determination, judges are free “to consider the full slate of extraordinary and
compelling reasons that an imprisoned person might bring before them in motions for
compassionate release.” Brooker, 2020 W: 5739712, at *7.

        Largely for the reasons set forth above in response to Collins’s motion to extend his
surrender date, Collins cannot establish that extraordinary and compelling circumstances exist in
this case. Given the absence of COVID-19 at FPC Pensacola, Collins’s risk of contracting and
suffering complications form COVID-19 is no higher (and may even be lower) than the risk that
he faces in the community. Moreover, as discussed, Collins is not differently situated from many
prisoners entering or already detained within the BOP system, including some whose health issues
are more significant than his.

        As for the Section 3553(a) factors, the Court recognized at sentencing that a term of
imprisonment was necessary to achieve general deterrence, to promote respect for the law, and to
achieve just punishment for the offenses of conviction. See Sentencing Transcript at 93 (quoting
Judge Rakoff for the proposition that “no sentence of probation, or anything close to it, could
serve” the purposes of sentencing). While the world has changed significantly since January, the
need to deter this conduct and to see justice done has not. Moreover, as Judge Caproni recognized
in connection with the Silver sentencing, given that the pandemic has imposed significant
limitations on the ability of much of the population to travel and socialize, a sentence of home
confinement at the present time would have even less deterrent effect than it might otherwise have.
See Silver, Dkt. No. 528, at 27 (“Given the fact that most of New York is effectively on home

3
 Austin is distinguishable. There, the defendant served approximately eleven years of his sentence
before the district court granted the defendant’s 28 U.S.C. § 2255 petition and released him. Id. at
*1. The Second Circuit reversed the district court. The district court thus reinstated the defendant’s
sentence and ordered him to voluntarily surrender to complete his sentence. While at liberty, but
before surrendering back to BOP custody, the defendant filed a Section 3582 petition. Judge
Rakoff distinguished Konny and Spruill on the ground that the defendants in those cases, like
Collins, “had not yet surrendered to federal custody,” whereas Austin had served “the majority of
his sentence, before this Court released him 2017.” Id. at *2.
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confinement now, and will be for the foreseeable future, that strikes me as an entirely inappropriate
sentence that satisfies none of the 3553 factors.”).

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        It has been over a year since Collins pled guilty in this case, and almost nine months since
he was sentenced. While it was appropriate to extend his surrender date early in the pandemic,
when it remained uncertain whether BOP would be able to control the infection rate in its facilities,
over six months of evidence has proven that it can and has done so. The public has an interest in
seeing justice done in this case without further delay. It is time for Collins to begin his prison
sentence. His motion should therefore be denied.


                                              Respectfully submitted,

                                              AUDREY STRAUSS
                                              Acting United States Attorney


                                          by: ___/s/__________________________
                                              Scott Hartman
                                              Max Nicholas
                                              Assistant United States Attorneys
                                              (212) 637-2357/1565

cc:    Defense counsel (by ECF)
